
100 N.Y.2d 574 (2003)
In the Matter of the FORECLOSURE OF TAX LIENS BY CLINTON COUNTY, Respondent.
TUMUSIIME FORTUNATUS, Appellant.
Court of Appeals of the State of New York.
Submitted May 19, 2003.
Decided July 2, 2003.
Motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order that denied leave to appeal to the Court of Appeals, dismissed upon the ground that such portion of the order does not finally determine the proceeding within the meaning of the Constitution; motion, insofar as it seeks leave to appeal from that part of the Appellate Division order that dismissed the appeal taken to that Court, dismissed upon the ground that it does not lie from the Appellate Division order dismissing the appeal from the determination entered upon default (see CPLR 5511).
